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13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15                              SAN JOSE DIVISION
      KYLE FARRIS,                            ) CASE NO. 5:17-cv-05418-LHK
16              Plaintiff,                    )
                                              ) STIPULATION AND
17         vs.                                ) [PROPOSED] ORDER OF
                                              ) DISMISSAL WITH PREJUDICE
18    EQUIFAX, INC.; TRANSUNION, LLC; FORD    ) BETWEEN PLAINTIFF AND
      MOTOR CREDIT; and DOES 1 THROUGH 100    ) DEFENDANT TRANS UNION,
19    INCLUSIVE;                              ) LLC
                 Defendants.                  )
20
21          Plaintiff Kyle Farris, by counsel, and Defendant Trans Union, LLC (“Trans Union”), by
22   counsel, hereby stipulate and agree that all matters herein between them have been compromised
23   and settled, and that Plaintiff’s cause against Trans Union only should be dismissed, with
24   prejudice, with each party to bear its own costs and attorneys’ fees.
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 5:17-CV-05418-LHK

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 1                                          Respectfully submitted,
 2
     Date: 12/27/17                          /s/ Joseph B. Angelo (w/consent)
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 4                                          Joseph B. Angelo, Esq.
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13   Date: 12/28/17                          /s/ Terri R. Brown
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25
                                            Local Counsel for Defendant Trans Union, LLC
26
                                            Pursuant to Local Rule 5-1(i)(3), I attest that
27                                          concurrence in the filing of this document has been
                                            obtained from each of the Signatories.
28

     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 5:17-CV-05418-LHK

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 1          PURSUANT TO STIPULATION, IT IS SO ORDERED that Trans Union, LLC is
 2   dismissed with prejudice. Plaintiff Kyle Farris and Defendant Trans Union, LLC shall each bear
 3   their own costs and attorneys’ fees.
 4
 5
     Date: ________________________
            January 2, 2018                     ____________________________________
 6
                                                JUDGE, United States District Court, Northern
 7                                              District of California

 8
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 5:17-CV-05418-LHK

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